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 3                                 UNITED STATES DISTRICT COURT
 4                                         DISTRICT OF NEVADA
 5                                                    ***
 6     UNITED STATES OF AMERICA,                             Case No. 2:17-cr-00316-RFB-CWH
 7                            Plaintiff,
                                                             ORDER
 8            v.
 9     ERNESTO GARCIA,
10                            Defendant.
11

12            Presently before the court is defendant Ernesto Garcia’s motion to modify the terms and

13    conditions of pretrial release (ECF No. 91), filed on July 19, 2018. Defendant moves the court to

14    modify the terms of his pretrial release to allow travel to Tijuana, Baja California, Mexico.

15    Defendant requests travel to Tijuana to visit his terminally ill uncle, who has “very little time

16    left.” (ECF No. 91.) Given the time-sensitive nature of Garcia’s request, the court requires the

17    government to file its response within seven (7) days.

18            IT IS THEREFORE ORDERED that the government must file a response by July 31,

19    2018.

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21            DATED: July 24, 2018

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23                                                          C.W. HOFFMAN, JR.
                                                            UNITED STATES MAGISTRATE JUDGE
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